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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

        -v.-
                                                              S4 23 Cr. 490 (SHS)
 ROBERT MENENDEZ,
 WAEL HANA,                                                   VERDICT SHEET
    a/k/a “Will Hana,”
 and FRED DAIBES,

                          Defendants.



                                      VERDICT SHEET

Please indicate your verdict with a check mark ().

COUNT ONE:                   Conspiracy to Commit Bribery


ROBERT MENENDEZ:             Guilty                        Not Guilty

WAEL HANA:                   Guilty                        Not Guilty

FRED DAIBES:                 Guilty                        Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count One, indicate whether he was
released on an appearance bond at the time of the offense:

                             Released on Bond         _    Not Released on Bond _


COUNT TWO:                   Conspiracy to Commit Honest Services Wire Fraud

ROBERT MENENDEZ:             Guilty                        Not Guilty

WAEL HANA:                   Guilty                        Not Guilty

FRED DAIBES:                 Guilty                        Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count Two, indicate whether he was
released on an appearance bond at the time of the offense:

                             Released on Bond         _    Not Released on Bond _
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COUNT THREE:                Conspiracy to Commit Extortion Under Color of Official Right

ROBERT MENENDEZ:            Guilty                       Not Guilty


COUNT FOUR:                 Conspiracy to Commit Obstruction of Justice

ROBERT MENENDEZ:            Guilty                       Not Guilty

FRED DAIBES:                Guilty                       Not Guilty


COUNT FIVE:                 Bribery – Actions to Benefit Wael Hana and Egypt

ROBERT MENENDEZ:            Guilty                       Not Guilty


COUNT SIX:                  Bribery – Actions to Benefit Wael Hana and Egypt

WAEL HANA:                  Guilty                       Not Guilty

FRED DAIBES:                Guilty                       Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count Six, indicate whether he was
released on an appearance bond at the time of the offense:

                            Released on Bond        _    Not Released on Bond _


COUNT SEVEN:                Honest Services Wire Fraud - Actions to Benefit Wael Hana
                            and Egypt

ROBERT MENENDEZ:            Guilty                       Not Guilty

WAEL HANA:                  Guilty                       Not Guilty

FRED DAIBES:                Guilty                       Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count Seven, indicate whether he was
released on an appearance bond at the time of the offense:

                            Released on Bond        _    Not Released on Bond _




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COUNT EIGHT:                Extortion Under Color of Official Right – Actions to Benefit
                            Wael Hana and Egypt

ROBERT MENENDEZ:            Guilty                       Not Guilty


COUNT NINE:                 Honest Services Wire Fraud - Actions to Benefit Jose Uribe
                            and Uribe’s Associates

ROBERT MENENDEZ:            Guilty                       Not Guilty

WAEL HANA:                  Guilty                       Not Guilty


COUNT TEN:                  Extortion Under Color of Official Right – Actions to Benefit
                            Jose Uribe and Uribe’s Associates

ROBERT MENENDEZ:            Guilty                       Not Guilty


COUNT ELEVEN:               Bribery – Actions to Benefit Fred Daibes and Qatar

ROBERT MENENDEZ:            Guilty                       Not Guilty


COUNT TWELVE:               Bribery – Actions to Benefit Fred Daibes and Qatar

FRED DAIBES:                Guilty                       Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count Twelve, indicate whether he was
released on an appearance bond at the time of the offense:

                            Released on Bond        _    Not Released on Bond _


COUNT THIRTEEN:             Honest Services Wire Fraud – Actions to Benefit Fred Daibes
                            and Qatar

ROBERT MENENDEZ:            Guilty                       Not Guilty

FRED DAIBES:                Guilty                       Not Guilty

If, and only if, you have found FRED DAIBES guilty of Count Thirteen, indicate whether he
was released on an appearance bond at the time of the offense:

                            Released on Bond        _    Not Released on Bond _


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 COUNT FOURTEEN:           Extortion Under Color of Official Right – Actions to Benefit
                           Fred Daibes and Qatar

 ROBERT MENENDEZ:          Guilty                      Not Guilty


 COUNT FIFTEEN:            Conspiracy For a Public Official to Act as a Foreign Agent

 ROBERT MENENDEZ:          Guilty                      Not Guilty

 WAEL HANA:                Guilty                      Not Guilty

 COUNT SIXTEEN:            Public Official Acting as a Foreign Agent

 ROBERT MENENDEZ:          Guilty                      Not Guilty


 COUNT SEVENTEEN:          Conspiracy to Commit Obstruction of Justice

 ROBERT MENENDEZ:          Guilty                      Not Guilty


 COUNT EIGHTEEN:           Obstruction of Justice

 ROBERT MENENDEZ:          Guilty                      Not Guilty



     You have completed the verdict form. Please sign the verdict form and return to the
courtroom.


New York, New York

July _____, 2024

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